                               NO. 07-12-0194-CV

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL A

                                 MAY 29, 2012
                        ______________________________


                SENDERRO CONSTRUCTION SERVICES, INC., APPELLANT

                                      V.

             DENISE RODRIGUEZ, INDIVIDUALLY AND AS NEXT FRIEND OF 
                    JOSE RODRIGUEZ III, GABRIELLE RODRIGUEZ
                       AND GILLIAN RODRIGUEZ, APPELLEES


                       _________________________________

               FROM THE 53[RD] DISTRICT COURT OF TRAVIS COUNTY;

            NO. D-1-GN-09-001075; HONORABLE ORLINDA NARANJO, JUDGE

                        _______________________________

Before CAMPBELL and HANCOCK and PIRTLE, JJ.
                                ORDER ON MOTION
	Pending before this Court is a Joint Motion to Abate or Remand this appeal.  The parties represent that they have entered into a settlement agreement and wish to have the trial court effectuate that agreement due to the involvement of a minor.  To accord the trial court with jurisdiction to accomplish the relief requested by the parties, we grant the motion and abate the appeal and remand the cause to permit proceedings in the trial court to effectuate the settlement agreement.  See Tex. R. App. P. 42.1(a)(2)(C).
  	It is so ordered.
							Per Curiam





